Case 1:16-cv-07078-ILG-RLM Document 144 Filed 08/23/18 Page 1 of 1 PageID #: 2600




                                                             August 23, 2018



  BY ECF
  Hon. Roanne L. Mann
  United States Magistrate Judge
  United States District Court for the Eastern District of New York
  United States Courthouse
  225 Cadman Plaza East
  Brooklyn, New York 11201

         Re:    Lelchook, et al v. Islamic Republic of Iran, et al
                1:16-cv-07078-(ILG)-(rlm)

  Dear Judge Mann,
         Per the Court’s minute order of August 22, 2018, the parties have conferred about
  proposed language and have reached agreement about most substantive issues. Mr. Frey still
  objects to the inclusion of proposed section 1(c), but plaintiffs believe that language to be
  important and appropriate.


                                                       Respectfully,


                                                       Robert J. Tolchin


  cc: All counsel of record by ECF
